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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   IN RE: Stephanie A. Vollentine                         BK NO. 17-10979 GLT
          Norman E. Vollentine
                                Debtor(s)                 Chapter 13

   KeyBank, NA, s/b/m First Niagara Bank,                 Related to Claim No. 13-2
   NA
                                Movant
                vs.

   Stephanie A. Vollentine
   Norman E. Vollentine
                                       Debtor(s)

   Ronda J. Winnecour,
                                       Trustee

                            CERTIFICATE OF SERVICE
                   AMENDED RESPONSE TO NOTICE OF FINAL CURE

   I, Brian C. Nicholas of KML Law Group, P.C., certify that I am, and at all times hereinafter
   mentioned was, more than 18 years of age and that on April 12, 2023, I served the above captioned
   pleading, filed in the proceeding on the parties at the addresses shown below:



                                                          Attorney for Debtor(s) – (via - ECF)
   Debtor(s)                                              Jeffrey G. Herman
   Stephanie A. Vollentine                                114 High Street
   3272 Dublin Road                                       PO Box 455
   Waterford, PA 16441                                    Waterford, PA 16441

   Norman E. Vollentine                                   Trustee – (via ECF)
   3272 Dublin Road                                       Ronda J. Winnecour
   Waterford, PA 16441                                    Suite 3250, USX Tower
                                                          600 Grant Street
                                                          Pittsburgh, PA 15219


   Method of Service: electronic means or first-class mail.

   Dated: April 12, 2023

                                                              /s/ Brian C. Nicholas
                                                              Brian C. Nicholas Esquire
                                                              Attorney I.D. 317240
                                                              KML Law Group, P.C.
                                                              BNY Mellon Independence Center
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